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EXHIBIT 5

Colorado State Court Acceptance of Service
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DISTRICT COURT

CITY AND COUNTY OF DENVER, COLORADO
Denver City & County Building

Clerk of the Court, Civil Division

1437 Bannock St., Room 256
Denver, CO 80202

Plaintiff: Q ADVISORS LLC

Vv.

Defendant; MERGENCE CORPORATION & COURT USE ONLY &

John S. Phillips #24884
Sean C. Grimsley #36422

Case Number: 15CV30955

BARTLIT BECK HERMAN PALENCHAR &
SCOTT LLP

1899 Wynkoop Street, 8" Floor

| Denver, CO 80202

Div.: Ctrm: 280

Telephone Number: (303) 592-3100

Facsimile Number: (303) 592-3140

Email: john phillins@bartlit-beck.com
sean, grimsley@bartlit-beck.com

ACCEPTANCE OF SERVICE

This is to verify that [, Steve br Li 04 have received the Amended Complaint
filed by the Plaintiffin this action, on behalf of Defendant Mergence Corporation, On behalf of the
Defendant, | confirm that service of the Amended Complaint is accepted. Azfowda pwd Moerers

ol) dloyer OWS Concermng tae 8b Jars Aan.

Dated this #* day of May, 2015,
; y y
Signature df Attorney {of Defendant

a

Case No. 1:15-cv-01093-KMT Document 17-5 filed 05/28/15. USDC Colorado pg 3of3

STATE OF UTAH

COUNTY OF SALT LAKE

VERIFICATION

) ss,

|
Cleve 2 eng ee Me acknowl edged before me on this Bikey of March, 2015 by

My Commission Expires:

iis Notary Puig

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| Gaim TAUNID. BCANGLA |

My Commvesion
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Witnegs my hand and official seal,

oe dun 4). nila

Nota Public, State of Utah

